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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


EDWELL T. HENRY II,                           :
                                              :
                             Plaintiff,       :
                                              :
               v.                             :
                                              :     Case 2:22-CV-04614-RAL
UNITED LUTHERAN SEMINARY and                  :
DR. R. GUY ERWIN,                             :
                                              :
                             Defendant

                                            ORDER

                  AND NOW, this ____ day of _____, 2023, upon consideration of Defendants’

Motion for Judgment on the Pleadings pursuant to Fed. R. Civ. P. 12(c), and Plaintiff’s response

thereto, if any, it is hereby ORDERED that the Motion is GRANTED. Counts VII, VIII and IX,

and Plaintiff’s claims for compensatory, punitive, and liquidated damages, are hereby dismissed

with prejudice.


                                             BY THE COURT:



                                             __________________________________________
                                                                                      J.




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